Case 18-23190-GLT       Doc 19 Filed 08/16/18 Entered 08/17/18 00:57:36                Desc Imaged
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA                        FILED
                                                                                      8/14/18 1:52 pm
      IN RE:                                       )                                  CLERK
                                                   )                                  U.S. BANKRUPTCY
      Dennis F. Blevins,                           )      Case No. 18-23190           COURT - :'3$
             Debtor                                )      Chapter 13
                                                   )
      Dennis F. Blevins,                           )      Document No. WO-1
      Social Security No. XXX-XX- 5532             )
             Movant                                )       Related to Dkt. No. 15
                                                   )
                      vs.                          )
                                                   )
      Orange Stones, Co. and                       )
      Ronda J. Winnecour, Trustee                  )
            Respondents                            )

                                    ORDER TO PAY TRUSTEE

               The above-named debtor having filed a Chapter 13 petition

            IT IS THEREFORE, ORDERED that until further order of this Court, the entity
      from whom the debtor receives income:

                                    Orange Stones, Co.
                                    Attn: Payroll Dept.
                                    800 West 4th Street
                                    Williamsport, PA 17701

      deduct from said income the sum of $536.00 from each bi-weekly paycheck beginning
      on the next pay day following receipt of this order and deduct a similar amount each pay
      period thereafter, including any period for which the debtor receives a periodic or lump
      sum payment as a result of vacation, termination or other benefits arising out of present
      or past employment, or from any other benefits payable to the debtor and to remit the
      deductible sums ON AT LEAST A MONTHLY BASIS to:

                                    Ronda Winnecour
                                    Chapter 13 Trustee, W.D. PA
                                    P. O. Box 84051
                                    Chicago, IL 60689-4002

              IT IS FURTHER ORDERED that the above-named entity shall notify the Trustee
      if the debtor’s income is terminated and the reason therefore.
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             IT IS FURTHER ORDERED that all remaining income of the debtor, except the
      amounts required to be withheld for taxes, social security, insurance, pension, or union
      dues be paid to the debtor in accordance with usual payment procedures.

           IT IS FURTHER ORDERED THAT NO OTHER DEDUCTIONS FOR
      GARNISHMENT, WAGE ASSIGNMENT, CREDIT UNION OR OTHER PURPOSE
      NOT SPECIFICALLY AUTHORIZED BY THIS COURT BE MADE FROM THE
      INCOME OF SAID DEBTOR WITH THE EXCEPTION OF ANY SUPPORT
      PAYMENTS.

              IT IS FURTHER ORDERED that this order supersedes previous orders made to
      the subject entity in this case.


              IT IS FURTHER ORDERED that the above-named entity shall not charge any fee
      to the debtor for the administration of this attachment order, except as may be allowed
      upon application to the Court.

                DATEDORDERED
       IT IS FURTHER       this _______________       dayshall
                                      that the debtor(s)  of _____________________,
                                                               remain responsible for timely 2018.
                                                                                             making all monthly plan
       payments to the Chapter 13 Trustee, either in whole or in part, until such time as the automatic paycheck
       withdrawals by the employer or other automatic attachments such as automatic bank transfers or welfare
       checks begin. The first Plan payment is due within thirty (30) days after the Chapter 13 Plan has been
       filed. Any failure to timely remit full Plan payments to the Trustee may result in the dismissal of the case
       after notice and hearing. Employers and others who fail to withhold funds and pay them over to the
       Trustee as ordered herein may be subject to sanctions including damages to debtor and this estate.




         DATED: August 14, 2018
                                                             __________
                                                             _____________________________
                                                                     __
                                                                     ___ __________
                                                                      ___         ________
                                                             GREGOR
                                                             GREGORYRY L.
                                                                       L. TADDONIO
                                                 ____________________________________
                                                             U.S. BANKRUPTCY JUDGE
                                                 U. S. BANKRUPTCY JUDGE
         Case Administrator to serve: Debtor, Counsel for Debtor and Trustee
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                                              United States Bankruptcy Court
                                            Western District of Pennsylvania
In re:                                                                                                     Case No. 18-23190-GLT
Dennis F. Blevins                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0315-2                  User: gamr                         Page 1 of 1                          Date Rcvd: Aug 14, 2018
                                      Form ID: pdf900                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 16, 2018.
db             +Dennis F. Blevins,   145 Front St.,   Blairsville, PA 15717-4316

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 16, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 14, 2018 at the address(es) listed below:
              Abagale E. Steidl   on behalf of Debtor Dennis F. Blevins asteidl@steidl-steinberg.com,
               julie.steidl@steidl-steinberg.com;leslie.nebel@steidl-steinberg.com;abby.steidl@me.com;r53037@not
               ify.bestcase.com;rlager@steidl-steinberg.com
              Office of the United States Trustee   ustpregion03.pi.ecf@usdoj.gov
              Ronda J. Winnecour   cmecf@chapter13trusteewdpa.com
                                                                                            TOTAL: 3
